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             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       CENTRAL DIVISION

ROBERT HOOPER                  *
                     PLAINTIFF *
                               *
V.                             *
                               *           CASE NO. 4:18CV00669 SWW
                               *
JANTRAN, INC.                  *
                   DEFENDANT   *

                              JUDGMENT

     Consistent with the Order that was entered on this day and the parties’

settlement agreement, it is CONSIDERED, ORDERED, and ADJUDGED that this

action is DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED, this 29th day of September, 2021.

                                  Susan Webber Wright
                                  UNITED STATES DISTRICT JUDGE
